Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 1 of 49 Page ID #:10



   1
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
                                                   EXHIBIT A
                                Amended and Restated LLC Agreement of JL Powell LLC
  28



                                                              Complaint for Declaratory Relief
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 2 of 49 Page ID #:11
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 3 of 49 Page ID #:12
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 4 of 49 Page ID #:13
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 5 of 49 Page ID #:14
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 6 of 49 Page ID #:15
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 7 of 49 Page ID #:16
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 8 of 49 Page ID #:17
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 9 of 49 Page ID #:18
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 10 of 49 Page ID #:19
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 11 of 49 Page ID #:20
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 12 of 49 Page ID #:21
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 13 of 49 Page ID #:22
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 14 of 49 Page ID #:23
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 15 of 49 Page ID #:24
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 16 of 49 Page ID #:25
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 17 of 49 Page ID #:26
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 18 of 49 Page ID #:27
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 19 of 49 Page ID #:28
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 20 of 49 Page ID #:29
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 21 of 49 Page ID #:30
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 22 of 49 Page ID #:31
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 23 of 49 Page ID #:32
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 24 of 49 Page ID #:33
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 25 of 49 Page ID #:34
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 26 of 49 Page ID #:35
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 27 of 49 Page ID #:36
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 28 of 49 Page ID #:37
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 29 of 49 Page ID #:38
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 30 of 49 Page ID #:39
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 31 of 49 Page ID #:40
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 32 of 49 Page ID #:41
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 33 of 49 Page ID #:42
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 34 of 49 Page ID #:43
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 35 of 49 Page ID #:44
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 36 of 49 Page ID #:45
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 37 of 49 Page ID #:46
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 38 of 49 Page ID #:47
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 39 of 49 Page ID #:48
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 40 of 49 Page ID #:49
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 41 of 49 Page ID #:50
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 42 of 49 Page ID #:51
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 43 of 49 Page ID #:52
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 44 of 49 Page ID #:53
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 45 of 49 Page ID #:54
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 46 of 49 Page ID #:55
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 47 of 49 Page ID #:56
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 48 of 49 Page ID #:57
Case 2:14-cv-07491-PA-RZ Document 1-1 Filed 09/25/14 Page 49 of 49 Page ID #:58
